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                     IN THE UNITED STATES DISTRICT COURT

                                  DISTRICT OF UTAH


UNITED STATES OF AMERICA,                    :           Case No. 2:20-cr-182-DBB-2

                     Plaintiff,              :

       vs.                                   :        SENTENCING MEMORANDUM
                                                          AND OBJECTION TO
LATEESHA RICHARDS,                           :           PRESENTENCE REPORT

                     Defendant.              :
                                                             Judge David B. Barlow


       The United States, by and through the undersigned Assistant U.S. Attorney,

hereby submits its sentencing memorandum urging the Court to impose sentence of

imprisonment within the correctly calculated guideline range. The United States

respectfully asserts that the appropriate guideline differs from that which was calculated

by the U.S. Probation Office in the Presentence Investigation Report (hereinafter “PSR”)

(Dkt. No. 261). As such, the United States will set forth those differences to ensure that

the Court correctly renders a guideline range after having considered all calculable

factors. Gall v. United States, 552 U.S. 38, 49-50 (2007).
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       The correct calculation turns on whether an adjustment under Chapter Three of the

U.S. Sentencing Guidelines is included. At present, the PSR does not include a victim-

related enhancement under this Chapter. The United States urges the Court to find that an

adjustment to increase the guidelines pursuant to Chapter Three is appropriate.

                                       Background

       On July 23, 2020, the Grand Jury indicted the Defendant for a violation of 18

U.S.C. § 844, Arson. Dkt. No. 52. On May 20, 2021, a Felony Information was filed

against Defendant alleging a violation of 18 U.S.C. § 231(a)(1), Civil Disorder. Dkt. No.

219. On June 11, 2021, the Defendant waived being charged by Indictment (Dkt. No.

238), pled guilty to count one of the Felony Information and signed a statement in

advance of plea. Dkt. Nos. 237, 240. In the plea agreement, the defendant admitted that

she participated in a civil disorder by participating in the burning of an overturned police

patrol car and by throwing a baseball bat toward police officers. Dkt. No. 240, ¶ 11.

Importantly, Defendant specifically admitted to participating in the burning of the

overturned police car with the intent and purpose of obstructing, impeding, and

interfering with law enforcement officers who were responding to the riots. Id.; see also

PSR, ¶ 30.

       There is no agreement between the parties as to how the court should sentence

Defendant Richards.

       The PSR was filed on July 9, 2021, wherein the defendant’s Total Adjusted


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Offense Level was calculated to be 16. Dkt. No. 261, PSR ¶ 49. This offense level was

founded on a correctly-arrived-at Base Offense Level (PSR, ¶¶ 40-42) of 6. The PSR also

correctly adds enhancements pursuant to U.S.S.G. §2B1.1(b)(2)(B) (Loss Amount

(>$6,500)) and to U.S.S.G. §2B1.1(b)(15) (Reckless Risk of Serious Injury). PSR, ¶ 42.

The PSR correctly adds a two-level enhancement pursuant to U.S.S.G. §2K1.4(a)(4).

                        United States’ Objections to the Presentence Report

         The United States objects to the Presentence Report because the PSR omits the

following Victim-Related offense level Adjustments made applicable pursuant to Chapter

Three of the Guidelines. Specifically, paragraph 46 of the PSR fails to include one 1 of the

following adjustments:

         •        U.S.S.G. §3A1.2(a), Official Victim - a three-level increase;
         •        U.S.S.G. §3A1.2(c)(1), Assault on Officer - a six-level increase.

As such, the PSR does not arrive at the correct adjusted offense level in paragraphs 49

and 53. The inclusion of one the Chapter Three adjustment increases to the offense level,

however, would result in the correctly calculated guideline range. The PSR should be

amended as follows:

      • Paragraph 46 reflecting victim adjustments pursuant to either U.S.S.G §3A1.2(a),
        Official Victim (3 levels) or U.S.S.G. §3A1.2(c)(1), Assault on Officer (6 levels);

      • Paragraph 49 reflecting the Adjusted Offense Level (Subtotal) of either 19
        (applying Subsection (a)) or 22 (applying Subsection (c)(1));

      • Paragraph 53 reflecting a Total Offense Level, after acceptance of responsibility,
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 U.S.S.G. §3A1.2 sets forth three separate means of increasing an offense level and instructs that the greatest should
apply.

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      of either 16 (applying Subsection (a)) or 19 (applying Subsection (c)(1)).
    • Paragraph 88 reflecting an asserted correct guideline imprisonment range of
      either 27-33 months imprisonment (applying Subsection (a)) or 37-46 months
      imprisonment (applying Subsection (c)(1).

    The United States will address each of the asserted Chapter Three Adjustments in

turn.

Official Victim – Section 3A1.2

        The PSR correctly notes that an enhancement pursuant to Chapter Three is a

possibility. Where the United States and the PRS differ are the interpretation of

Application Note 1 of Section 3A1.2, specifically the definition of “specified

individuals.”

   a. Section 3A1.2 – Official Victim Enhancement Would be Appropriate

   The law enforcement officers who were impeded, obstructed, and interfered with by

the Defendant are “specified individuals” for purposes of Section 3A1.2. The Defendant

agreed to a factual recitation that specifically inculpated her for willfully and knowingly

engaging in civil disorder with the intent and purpose of obstructing, impeding, and

interfering with law enforcement officers. See PSR, ¶ 38. Furthermore, the Defendant

admitted to throwing a baseball bat toward police officers. Id. It is significant that the

Defendant did not admit to obstructing, impeding, and interfering with non-persons or

with a government entity or organization. She admitted that her actions were intended to

impact law enforcement officers.

   Law enforcement officers – the very persons responding to the civil disorder in this

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case – do not suddenly lose independent personhood and immediately assimilate into a

collective simply because they are not specifically identified by name. In United States v.

Polk, the Fifth Circuit held that a defendant need not know the names of intended victims

to be subject to an enhancement under U.S.S.G. § 3A1.2. United States v. Polk, 118 F.3d

286, (5th Cir. 1997).

       Section 3A1.2 read, in relevant part, “If (1) the victim was (A) a government

officer or employee…and (2) the offense of conviction was motivated by such status,

increase by 3 levels.” U.S.S.G. §3A1.2(a). The Tenth Circuit has opined that the official

victim enhancement of Section 3A1.2(a) requires the offense of conviction to be

motivated by the status of an “official victim.” United States v. Blackwell, 323 F.3d 1256

(10th Cir. 2003). In the present case, the Defendant has admitted that her conducted was

motivated by the status of the victims because they were law enforcement officers.

   b. Section 3A1.2(c)(1) – Official Victim Substantial Risk of Serious Bodily Injury

       Subsection 3A1.2 reads, in relevant part, “If, in a manner creating a substantial

risk of serious bodily injury, the defendant… (1) knowing or having reasonable cause to

believe that a person was a law enforcement officer, assaulted such officer during the

course of the offense…” To have this enhancement apply, the United States would need

to establish:

       1) The Defendant created a substantial risk of serious bodily injury;

       2) The Defendant knew that a person was law enforcement, or had reasonable


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             cause to believe the person was law enforcement;

       3) The Defendant committed an assault.

       In the present case, the Defendant has admitted to throwing a baseball bat at police

officers. PSR ¶ 38. That admission satisfies the first two elements necessary for the

enhancement to be imposed. Being hit by a thrown baseball bat surely constitutes a

substantial risk of serious bodily injury. Whether an assault occurred is the only question

this Court need assess. The Tenth Circuit has held that to establish an assault under

Subsection (c)(1), the United States need demonstrate a Defendant acted with specific

intent to put a law-enforcement officer in fear of serious bodily injury. United States v.

Gonzales 931 F.3d 1219, 1224 (10th Cir. 2019). In the present matter, Defendant

Richards admitted to throwing a baseball bat at law enforcement officers. This was done

as officers were attempting to keep peace during a riot on the streets of Salt Lake City,

during a time of heightened tensions and chaos. Whether the baseball bat Defendant

threw hit an officer is not known. But the Court can infer from Defendant’s actions in

throwing the bat at law enforcement officers, she intended to put them in fear of serious

bodily injury. Any reasonable person would have such a reaction to a baseball bat hurled

at him.

                                         Conclusion

          The United States recommends that this Court sentence the defendant a term of

incarceration within the guidelines that will include one of the Official Victim


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enhancements in U.S.S.G. §3A1.2. It is the position of the United States that because

Subsection (c)(1) results in a higher enhancement than Subsection (a), and because the

guideline requires the application of the greater enhancement, an enhancement of 6 levels

is appropriate. As such, the United States requests a sentence 37-46 months’

imprisonment be imposed. In the alternative, if the Court determines that Subsection

(c)(1) does not apply, then an enhancement of 3 levels under Subsection (a) is warranted

and would result in a requested sentence of 27-33 months imprisonment.

18 U.S.C. § 3553 Considerations

       The United States will more fully address each of the relevant factors set forth in

Section 3553 at the time of sentencing. That said, considering the circumstances of the

instant offense and Defendant’s criminal history, the United States respectfully

recommends that Defendant be sentenced within the applicable guideline range. Such a

sentence reflects the seriousness of the offense, promotes respect for the law, and

provides just punishment for recurring criminal behavior. A guideline sentence also

provides adequate deterrence, both specific and general, and protects the public from

further crimes by Defendant.

       RESPECTFULLY SUBMITTED July 26, 2021.

                                          ANDREA T. MARTINEZ
                                          Acting United States Attorney

                                          MICHAEL J. THORPE
                                          Assistant United States Attorney


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